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                                                                                                   E-FILED
                                                                      Thursday, 25 March, 2021 07:09:17 PM
                                                                              Clerk, U.S. District Court, ILCD

                         UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS
                              SPRINGFIELD DIVISION

JAMES MICHAEL GRIMSLEY,                               )
                                                      )
Plaintiff,                                            )
                                                      )
-v-                                                   )      No.: 3:21-cv-3080
                                                      )
UNITED STATES OF AMERICA,                             )
                                                      )
Defendant.                                            )

                                          COMPLAINT
        NOW COMES Plaintiff, James Michael Grimsley, by and through his attorneys

Steigmann Law, PC, and complaining of the Defendant, United States of America, hereby states

as follows:

                                JURISDICTION AND VENUE
        1.     Plaintiff, James Michael Grimsley (“James Grimsley or Mr. Grimsley”), brings

this action against the United States of America (“United States or USA”) pursuant to the

provisions of the Federal Tort Claims Act, Title 28 USC § 1346(b), 2671-2680, alleging liability

of the United States Government for the medical negligence/general negligence of its employees

and/or apparent agents at the Veterans Affairs (“VA”) Iowa City VA Health Care System, which

proximately caused significant personal injury to James Michael Grimsley.

        2.     On February 4, 2021, Plaintiff presented a medical negligence/general

negligence/personal injury claim to the Department of Veterans Affairs pursuant to the

provisions of the Federal Tort Claims Act, Title 28 USC § 1346(b), 2671-2680, alleging liability

of the United States Government. Exhibit A – Standard Form 95 or SF-95 is attached and by

reference incorporated herein and, in pertinent part, Paragraph 8, Basis of Claim sets forth, to

wit:

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       James Michael Grimsley is an honorably discharged veteran of the USMC with
       overseas tours in Asia. Beginning In March of 2019, VA doctors at the Quincy, IL
       VA and the Iowa City, IA VA began prescribing 40 mg of Prednisone to claimant
       to treat suspected TB Choroiditis. Later tests determined that claimant did not, in
       fact, have TB. Nevertheless, claimant was prescribed excessive doses of Prednisone
       that increased to 60 MG of Prednisone on March 3, 2020.

       While 40 mg and 60 mg of Prednisone can be indicated for TB Choroiditis,
       Chorioretinitis, or other related or similar retinal problems, it is crucial that this
       excessive dosage is rigorously monitored. The patient should not have been on this
       dosage for more than 3-4 months without the introduction of Cellcept and steroid
       tapering.

       On July 9, 2020, The VA doctor notes the patient presents with Iatrogenic Cushings
       and steroid myopathy due to high dose steroid use for 16 months. The doctor notes
       progressive weakness for steroid myopathy.

       In totality, claimant was on excessive doses of Prednisone for a period in excess of
       eighteen (18) months and, among other deviations from the standard of care, the
       VA institution, doctors, nurses, and staff failed to appropriately monitor the
       Prednisone prescribed to the claimant. Moreover, the VA records indicate that
       Cellcept and steroid tapering were not introduced until 12-16 months after the
       patient was prescribed excessive doses of Prednisone.

       The patient has a basis to proceed pursuant to the FTCA on medical negligence
       theories of general negligence, Res Ipsa Loquitur, and lack of informed consent.
       Moreover, the Seventh Circuit allows claims of institutional negligence against the
       VA. Under Illinois substantive law, “in an institutional negligence case, a hospital
       owes a duty to its patients to exercise reasonable care in light of apparent risk.”
       Longnecker v. Loyola Univ. Med. Ctr., 891 N.E.2d 954, 965 (Ill. App. Ct. 2008).
       The Seventh Circuit has found that an administrative claim alleging “the institution
       failed to quarantine [another inmate] to prevent transmittal of disease” was
       sufficient to exhaust the plaintiff’s claim that the institution negligently failed to
       implement and enforce its MRSA policies, for FTCA purposes. Buechel v. United
       States, 746 F.3d 753, 761 (7th Cir. 2014).

Exhibit B – Certified Mail Receipt is attached and by reference incorporated herein.

       3.      On February 11, 2021, the United States acknowledged receipt of the claim.

Plaintiff’s SF-95 alleges the amount of the claim to be $5,000,000.00. Pursuant to 28 U.S.C. §

2675(a), the United States will have denied Plaintiff’s claim by having failed to make a final

decision on the matter within six (6) months of the claim having been filed. Plaintiff has elected



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to file suit against the USA in the United States District Court for the Central District of Illinois,

pursuant to 28 U.S.C. § 2401(b). Exhibit C – Correspondence from the U.S. Department of

Veterans Affairs – Office of General Counsel is attached and by reference incorporated herein.

       4.      Jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1346(b), in which the

District Court shall have exclusive jurisdiction of civil actions on claims against the United

States of America for money damages for personal injury caused by the negligent or wrongful

acts or omissions of any employee of the Government while acting within the scope of his or her

office or employment under circumstances where the United States, if a private person, would be

liable to the claimant in accordance with the laws of the State of Illinois.

       5.      At all times material hereto, VA physicians Stephanie K. Lynch, MD; James C.

Folk, MD; Christopher R. Fortenbach, MD; Michael D. Abramoff, MD; and any and all other

VA physicians and employees; and/or apparent agents-servants-contractors employed with the

Iowa City VA Health Care System, involved in the negligent acts and omissions alleged herein,

were acting within the scope and course of their employment with the VA and, as such,

defendant United States of America is the appropriate defendant pursuant to the Federal Tort

Claims Act.

       6.      Venue is proper under 28 U.S.C. § 1391(b) because the acts and omissions

forming the basis of this claim occurred within the Central District of Illinois, Springfield

Division. The Quincy VA Clinic operates like a physician’s office and is located at 6020

Broadway Street, Quincy, Illinois 62305-7919 and is an extension of the Iowa City VA Health

Care System. Plaintiff resides in the Central District of Illinois at 24021 255th Ave., New

Canton, Illinois 62356 and regularly appoints at the Quincy VA clinic.




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                                    FACTUAL ALLEGATIONS
        7.       Plaintiff, James Michael Grimsley was at all relevant times hereto a veteran of the

United States Marine Corps, was honorably discharged from the Corps, and was otherwise

eligible for treatment at the Quincy VA Clinic, Iowa City VA Health Care System, located

within this judicial district in Quincy, Illinois.

        8.       At all times relevant hereto, the United States, by and through its employees and

apparent agents-servants-contractors, maintains and operates the Iowa City VA Health Care

System, located in Quincy, Illinois and Iowa City, Iowa, and in the aforesaid capacity employs

various health care professionals and offers medical services to veterans, including James

Michael Grimsley.

        9.       James Michael Grimsley has been a patient under the care and treatment of the

Iowa City VA Health Care System from 2010 to the present and they are primarily responsible

for his medical care.

        10.      On March 3, 2019, James Michael Grimsley presented to the Iowa City VA

Health Care System for an initial eye evaluation by VA physicians. The VA physicians note that

there were no outside patient records available for their review.

        11.      However, the same physicians were aware that Plaintiff had been recently under

the care of a retina subspecialist, Dr. Kevin Blinder. They were also aware that he was recently

on Prednisone.

        12.      On March 26, 2019, James Michael Grimsley presented to the Iowa City VA

Health Care System for a follow-up appointment with VA physicians Stephanie K. Lynch, MD

and James C. Folk, MD. There is no record that VA physicians Stephanie K. Lynch, MD and

James C. Folk, MD, or any other VA physician requested or reviewed Plaintiff’s recent clinic

notes/patient records from his retina subspecialist, Dr. Kevin Blinder.

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       13.      Moreover, there is no record that on March 26, 2019, VA physicians Stephanie K.

Lynch, MD and James C. Folk, MD, or any other VA physician contacted or consulted with Dr.

Kevin Binder.

       14.      That James Michael Grimsley’s previous clinic notes/patient records from his

uveitis treating clinic (Dr. Blinder) were never obtained nor reviewed, despite the

aforementioned VA physicians having had the knowledge that intravitreal injections were used

for treatment of Plaintiff’s chorioretinitis. Had the VA physicians obtained those records they

could have better understood the efficacy of intravitreal steroids or anti vascular endothelial

growth factor or other agents in treating Plaintiff’s eye condition.

       15.      That a review of the aforementioned clinic notes/patient records, or merely a

consultation with Dr. Blinder, may have yielded information regarding an adequate ocular

disease response to the intraocular steroids or anti vascular endothelial growth factor therapy, as

was documented by the VA physicians as probable treatment that Mr. Grimsley had previously

received.

       16.      Yet, despite the aforementioned, on March 26, 2019, VA physicians Stephanie K.

Lynch, MD and James C. Folk, MD prescribed 40mg of Prednisone to treat Plaintiff’s eye

condition.

       17.      That relating to the March 26, 2019 appointment, there is no record of any

discussion or plan to regulate and/or taper the high dose 40mg corticosteroid therapy prescribed

to Plaintiff. Moreover, there is no record indicating a recommended consultation with

rheumatology.

       18.      On March 3, 2020 and March 5, 2020, James Michael Grimsley presented to the

Iowa City VA Health Care System for a follow-up appointment with VA physicians Christopher



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R. Fortenbach, MD and Michael D. Abramoff, MD. Plaintiff was prescribed and began taking

60mg of Prednisone.

       19.     That relating to the March 3, 2020 and March 5, 2020 appointments, there is no

record of any discussion or plan to regulate and/or taper the high dose 60mg corticosteroid

therapy prescribed to Plaintiff. Moreover, there is no record indicating a recommended

consultation with rheumatology.

       20.     That it was not until May 28, 2020, that James Michael Grimsley was referred to

rheumatology regarding a consult for a steroid-sparing agent.

       21.     On July 9, 2020, James Michael Grimsley presented to the Iowa City VA Health

Care System for an appointment with his primary care physician or PCP, Ahmad Ahmadzia,

MD. Dr. Ahmadzia notes the patient presents with Iatrogenic Cushings and steroid myopathy

due to high dose corticosteroid use for 16 months. The doctor notes progressive weakness from

steroid myopathy. It was at this appointment where a VA physician confirmed the dire

circumstances Plaintiff was in; namely, that he was experiencing significant, extremely well-

known, high dose corticosteroid therapy related side-effects.

       22.     That it was not until July of 2020 that a steroid-sparing agent was introduced.

Thus, at that point, only a long-term steroid taper option was available to Plaintiff which forced

him to remain on a toxic, high dosage of corticosteroids.

       23.     That throughout the course of James Michael Grimsley’s high dose corticosteroid

treatment – prescribed and monitored by VA physicians Stephanie K. Lynch, MD; James C.

Folk, MD; Christopher R. Fortenbach, MD; Michael D. Abramoff, MD; and any and all other

VA physicians and employees; and/or apparent agents-servants-contractors employed with the




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Iowa City VA Health Care System – Plaintiff’s previous clinic notes/patient records from his

uveitis treating clinic (Dr. Blinder) were never obtained nor reviewed.

       24.     As a result, James Michael Grimsley has suffered significant, irreversible

systemic damage to his body, including but not limited to Iatrogenic Cushings and steroid

myopathy. He is in a state of constant pain and weakness. His eye condition has deteriorated.

These conditions are considered permanent and will worsen. The extended (over 18 months)

high dose 40mg and 60mg corticosteroid therapy prescribed to Plaintiff, without a thorough

review of his previous clinic notes/patient records from his uveitis treating clinic (Dr. Blinder),

and without a consult with rheumatology, and without the appropriate introduction of a steroid-

sparing agent is the proximate cause of these conditions.

       25.     Furthermore, both the use of a topical beta-blocker (Timolol) and prostaglandin

analog (Latanoprost) were not discontinued, despite an incomplete inflammatory response

resolution with high dosage oral steroids.

       26.     That James Michael Grimsley has experienced significant pain and suffering,

emotional distress, decreased ability to perform activities of daily living, and irreversible,

permanent damage as a result of the VA’s failed course of corticosteroid treatment, all of which

were preventable, as well as directly and proximately caused by acts and omissions of the

Defendants, as further stated below.

       27.     Attached hereto and made a part hereof are Affidavits and a Reviewing Health

Care Professional’s Report pursuant to § 2-622 of the Illinois Code of Civil Procedure. Exhibit D

and Exhibit E are attached and by reference incorporated herein.




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                                COUNT I (Medical Negligence)

       28.     Plaintiff repeats and re-alleges Paragraphs 1-27 of the Complaint, as though they

were fully and completely set forth herein.

       29.     The VA’s mission is “to care for him who shall have borne the battle, and for his

widow and his orphan,” providing health care that “compares favorably to the best of the private

sector.”

       30.     At all times relevant hereto in the Iowa City VA Health Care System’s treatment

of James Michael Grimsley, there existed a duty on the part of Defendant USA, by and through

VA physicians Stephanie K. Lynch, MD; James C. Folk, MD; Christopher R. Fortenbach, MD;

Michael D. Abramoff, MD; and any and all other VA physicians and employees; and/or apparent

agents-servants-contractors employed with the Iowa City VA Health Care System, to render

medical care and treatment in accordance with the accepted standards of prevailing medical

practice and opinion existing in the community at that time and to exercise that degree of

knowledge, skill, and care which a reasonably well-qualified physician in the same or similar

community would bring to a similar case under similar circumstances.

       31.     Additionally, at all times relevant hereto, the VA and the Iowa City VA Health

Care System had a duty to act as a reasonably careful hospital or clinic and to make itself aware

of the care administered to James Michael Grimsley, by and through its physicians Stephanie K.

Lynch, MD; James C. Folk, MD; Christopher R. Fortenbach, MD; Michael D. Abramoff, MD;

and any and all other physicians and employees; and/or apparent agents-servants-contractors

employed with the Iowa City VA Health Care System – and to take action when the care

rendered was substandard.




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       32.      Disregarding its duty (not subject to a discretionary function), Defendant USA, by

and through its physicians Stephanie K. Lynch, MD; James C. Folk, MD; Christopher R.

Fortenbach, MD; Michael D. Abramoff, MD; and any and all other physicians and employees;

and/or apparent agents-servants-contractors employed with the Iowa City VA Health Care

System, were guilty of one or more of the following acts or omissions:

       a. Failure to attempt tapering of Mr. Grimsley’s high dose corticosteroid therapy, even

             after Mr. Grimsley began experiencing significant, extremely well-known steroid

             related side-effects is a deviation from the standard of care, specifically:

                i.      Failure to attempt local, intraocular steroid therapy;
                ii.     Failure to consult a Rheumatologist or Uveitis subspecialist in order to
                        institute steroid sparing therapy in a timely manner; and
                iii.    Failure to attempt intraocular anti vascular endothelial growth factor
                        therapy to diagnosis and possibly treat any associated choroidal
                        neovascular membranes.
       b. Failure to consult a Rheumatologist or Uveitis subspecialist to treat breakthrough,

             blinding, chorioretinal damaging inflammation;

       c. Failure to obtain and review notes from Mr. Grimsley’s immediately former, treating

             retina subspecialist, Dr. Kevin Blinder which may have yielded information regarding

             an adequate ocular disease response to intraocular steroid or anti vascular endothelial

             growth factor therapy, as was documented as probable therapy Mr. Grimsley

             previously received;

       d. Failure to discontinue latanoprost eye drops in the presence of known, vision

             threatening intraocular inflammation, poorly controlled on high-dose systemic

             corticosteroids;




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e. Failure to discontinue timolol 0.5% eye drops in the presence of documented

   interstitial lung disease, reactive airway exacerbations, and shortness of breath on

   exertion;

f. Failure to determine the professional competence of its physicians before granting

   staff privileges;

g. Failure to make continuing assessments of its physicians’ competence;

h. Failure to review and supervise medical treatment provided by its physicians, and/or

   apparent agents-servants-contractors employed with the Iowa City VA Health Care

   System;

i. Failure to develop, promulgate, and implement policies and procedures to protect

   patients, including James Michael Grimsley, from the negligent conduct complained

   of herein;

j. Failure to ensure that its employees, agents and apparent agents followed appropriate

   standards in hiring, credentialing, training and supervising qualified staff to provide

   for the delivery of high-quality health care to its patients, including James Michael

   Grimsley;

k. Failure to adequately supervise its employees, agents and apparent agents and enforce

   its policies and procedures;

l. Failure to ensure that those to whom it granted privileges, employment or permission

   to provide health care services to its patients were trained and competent to do so; and

m. Failing to maintain adequate staffing levels to monitor and provide health care,

   including emergency health care services to its patients, including James Michael

   Grimsley.



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       33.     As a direct and proximate result of one or more of the foregoing careless and

negligent acts or omissions on the part of Defendant USA, by and through VA physicians

Stephanie K. Lynch, MD; James C. Folk, MD; Christopher R. Fortenbach, MD; Michael D.

Abramoff, MD; and any and all other VA physicians and employees; and/or apparent agents-

servants-contractors employed with the Iowa City VA Health Care System – James Michael

Grimsley suffered a broad range of well-known high dose, prolonged-use corticosteroid induced

side-effects, including but not limited to:

       a. Anasarca (whole body swelling);

       b. Osteonecrosis;

       c. Deep vein thromboses;

       d. Gastric ulcer;

       e. Gastroesophogeal reflux disease;

       f. Profound myopathy;

       g. Thrush exacerbating existing dysphagia;

       h. Hepatic steatosis;

       i. Moon facies;

       j. Glaucoma;

       k. Dyslipidemia; and

       l. Hypertension.

       34.     As a direct and proximate result of one or more of the foregoing careless and

negligent acts or omissions on the part of Defendant USA, by and through VA physicians

Stephanie K. Lynch, MD; James C. Folk, MD; Christopher R. Fortenbach, MD; Michael D.

Abramoff, MD; and any and all other VA physicians and employees; and/or apparent agents-



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servants-contractors employed with the Iowa City VA Health Care System – James Michael

Grimsley has experienced significant pain and suffering, emotional distress, decreased ability to

perform activities of daily living, and irreversible, permanent damage, and will so suffer in the

future, all to his damages.

                                  COUNT II (Res Ipsa Loquitur)

       35.       Plaintiff repeats and re-alleges Paragraphs 1-31 of the Complaint, as though they

were fully and completely set forth herein.

       36.       That the injury complained of would not have occurred in the absence of

negligence.

       37.       That James Michael Grimsley’s care and the treatment was exclusively under the

control or management of Defendant USA, by and through VA physicians Stephanie K. Lynch,

MD; James C. Folk, MD; Christopher R. Fortenbach, MD; Michael D. Abramoff, MD; and any

and all other VA physicians and employees; and/or apparent agents-servants-contractors

employed with the Iowa City VA Health Care System, during the period of the injury

complained of.

       38.       That in the normal course of events, James Michael Grimsley’s injury would not

have occurred if Defendant USA had exercised a reasonable standard of professional care while

Mr. Grimsley was a patient of Defendant USA, and under their control or management during

the period of the injury complained of.

       39.       As a direct and proximate result of one or more of the foregoing careless and

negligent acts or omissions on the part of Defendant USA, by and through VA physicians

Stephanie K. Lynch, MD; James C. Folk, MD; Christopher R. Fortenbach, MD; Michael D.

Abramoff, MD; and any and all other VA physicians and employees; and/or apparent agents-

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servants-contractors employed with the Iowa City VA Health Care System – James Michael

Grimsley has experienced significant pain and suffering, emotional distress, decreased ability to

perform activities of daily living, and irreversible, permanent damage, and will so suffer in the

future, all to his damages.

                                    COUNT III (Informed Consent)

       40.     Plaintiff repeats and re-alleges Paragraphs 1-27 of the Complaint, as though they

were fully and completely set forth herein.

       41.     That in addition to or in the alternative, and at all times mentioned herein,

Defendant USA, by and through VA physicians Stephanie K. Lynch, MD; James C. Folk, MD;

Christopher R. Fortenbach, MD; Michael D. Abramoff, MD; and any and all other VA

physicians and employees; and/or apparent agents-servants-contractors employed with the Iowa

City VA Health Care System, had a duty to obtain James Michael Grimsley’s informed consent

for the high dose corticosteroid treatment, by disclosing to Mr. Grimsley those material risks,

results, or alternatives that a reasonable medical practitioner of the same community, in the same

or similar circumstances would have disclosed.

       42.     That Defendant USA deviated from the standard of care, by failing to disclose to

Mr. Grimsley those material risks, results, or alternatives that a reasonable medical practitioner

of the same community, in the same or similar circumstances would have disclosed.

       43.     That Defendant USA failed to fully inform/apprise Mr. Grimsley of the material

risks inherent to the high dose corticosteroid course of treatment.

       44.      That, moreover, Defendant USA failed to fully inform/apprise Mr. Grimsley of

the material risks inherent to the course of treatment, because Defendant USA, itself, failed to

understand and appreciate the risks associated with the prescribed treatment and its


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mismanagement of the same, and thus Defendant USA could not competently inform/apprise Mr.

Grimsley of the material risks inherent to the course of treatment.

       45.     That had Mr. Grimsley been sufficiently informed of the material risks involved,

he would have never undergone the aforementioned course of treatment.

       46.     That Defendant USA’s failure to obtain Mr. Grimsley’s informed consent for the

course of treatment is the direct and proximate cause of Mr. Grimsley’s injuries, in that, had Mr.

Grimsley been sufficiently informed of the material risks, he would have never undergone the

aforementioned course of treatment.

       47.     As a direct and proximate result of one or more of the foregoing careless and

negligent acts or omissions on the part of Defendant USA, by and through VA physicians

Stephanie K. Lynch, MD; James C. Folk, MD; Christopher R. Fortenbach, MD; Michael D.

Abramoff, MD; and any and all other VA physicians and employees; and/or apparent agents-

servants-contractors employed with the Iowa City VA Health Care System – James Michael

Grimsley has experienced significant pain and suffering, emotional distress, decreased ability to

perform activities of daily living, and irreversible, permanent damage, and will so suffer in the

future, all to his damages.




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       WHEREFORE, Plaintiff, James Michael Grimsley demands judgment against Defendant,

the United States of America, in the amount of five million dollars ($5,000,000.00), as will

reasonably and fairly compensate him for his damages, for costs herein expended, and for any

further and other relief that this Court deems just and proper in the premises.




                                                      James Michael Grimsley,
                                                      Plaintiff


                                                      By: /s/David C. Steigmann
                                                      David C. Steigmann #6271465
                                                      Attorney for Plaintiff
                                                      Steigmann Law, PC
                                                      1807 Woodfield Drive
                                                      Savoy, Illinois 61874
                                                      (217) 351-5818
                                                      (217) 351-5819
                                                      dsteigmann@steigmannlaw.com




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